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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

NORTHERN DIVISION
MORGAN HANUSOWSKI
#556211 PLAINTIFF
Vv. No. 3:20-cv-272-DPM

KYLE FRENCH, Booking/Correctional
Officer, Craighead County Detention
Center DEFENDANT

JUDGMENT

Hanusowski’s complaint is dismissed without prejudice.

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D.P. Marshall Jr.
United States District Judge

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